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 7                         UNITED STATES DISTRICT COURT
 8                       CENTRAL DISTRICT OF CALIFORNIA
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11    Alfred Montanez, III, et al,   )                EDCV 20-00271-JVS (KKx)
                                     )
12                                   )                ORDER OF DISMISSAL UPON
                  Plaintiff,         )
13                                   )                SETTLEMENT OF CASE
             v.                      )
14                                   )
      State Farm Insurance Company,  )
15                                   )
                  Defendant(s).      )
16                                   )
                                     )
17    ______________________________ )
18
19          The Court having been advised by the counsel for the parties that the above-
20    entitled action has been settled,
21          IT IS ORDERED that this action be and is hereby dismissed in its entirety
22    without prejudice to the right, upon good cause being shown within 45 days, to reopen
23    the action if settlement is not consummated.
24
25    DATED: October 5, 2021                              __________________________
                                                          James V. Selna
26                                                        U.S. District Judge
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